               Case 20-40208-mxm11                Doc 43-4 Filed 04/13/20 Entered 04/13/20 17:09:06                             Desc
Label Matrix for local noticing                    Deutsche Bank National
                                                    Index Service         TrustPage
                                                                       List     Company1asofTrus
                                                                                              1  Tarrant County
0539-4                                               c/o Codilis & Moody, P.C.                            Linebarger, Goggan, Blair & Sampson, LLP
Case 20-40208-mxm11                                  400 N. Sam Houston Pkwy E,                           c/o Laurie A. Spindler
Northern District of Texas                           Suite 900A                                           2777 N. Stemmons Fwy Suite 1000
Ft. Worth                                            Houston, TX 77060-3548                               Dallas, TX 75207-2328
Thu Feb 27 15:48:34 CST 2020
501 W. Tenth Street                                  CITIBANK                                             California Franchise Tax Board
Fort Worth, TX 76102-3637                            388 Greenwich Street                                 300 South Spring Street
                                                     New York, NY 10013-2362                              Suite 5704
                                                                                                          Los Angeles, CA 90013-1265


Deutsche Bank National Trust Company                 Gary L. Pate                                         HEB Grocery Company, LP
C/O: PHH Mortgage Corporation                        One Riverway, #1400                                  646 S. Flores St.
Attn: Bankruptcy Department                          Houston, TX 77056-1988                               San Antonio, TX 78204-1219
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West Palm Beach, FL 33416-4605

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Thompson Coe Cousins & Irons LLP                     United States Trustee                                Vinson & Elkins LLP
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